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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                Newport News Division

DEREK WHEELING BURNETT,                      )
     Plaintiff,                              )
                                             )
               v.                            )                   Civil Action No. 4:20CV183 (RCY)
                                             )
BLUEFORCE, INC.,                             )
     Defendant.                              )
                                             )

                                        FINAL ORDER
       This matter is before the Court on the parties’ Stipulation of Dismissal (ECF No. 50),

filed pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii). It appearing to the Court that

all matters of controversy in this action have been settled, it is hereby ORDERED that this action

is DISMISSED WITH PREJUDICE. Each party will bear its own costs and attorneys’ fees. The

Court shall, however, retain jurisdiction for the sole purpose of enforcing the terms of the

settlement agreement, if necessary.

       The Clerk is directed to send a copy of this Order to all counsel of record.

       It is so ORDERED.

                                                                  /s/
                                                     Roderick C. Young
                                                                 Youunngg
                                                     United States
                                                              ates District
                                                                          ct Judge
                                                                          ct Juuddge

Richmond, Virginia
Date: February 17, 2022
